                      Case 3:19-cv-05711-EMC Document 6 Filed 09/11/19 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          California


  Abante Rooter and Plumbing, Inc., individually and                            )
      on behalf of all others similarly situated,                               )
                                                                                )
                                                                                )
                            Plaintiff(s)                                        )
                                                                                )
                                v.                                                                Civil Action No. 3:19-cv-05711 JCS
                                                                                )
               Total Merchant Services, LLC                                     )
                                                                                )
                                                                                )
                                                                                )
                           Defendant(s)                                         )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Total Merchant Services, Inc.
                                           21650 Oxnard Street, #200
                                           Woodland HIlls, CA 91367




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Rebecca Davis
                                           Lozeau Drury LLP
                                           1939 Harrison St., Suite 150
                                           Oakland, California 94612
                                           (510) 836-4200
                                           rebecca@lozeaudrury.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                ST
                                                                                  ATE
                                                                                     S DISTR
                                                                                            IC
                                                                                              T
                                                                                                                  CLERK OF COURT
                                                                            D
                                                                                                                   Susan Y. Soong
                                                                                                      CO
                                                                       E
                                                                     IT




                                                                                                        UR
                                                                   UN




                                                                                                          T
                                                                   N O RT




                                                                                                           NI A




Date:             09/11/2019
                                                                                                       OR
                                                                     HE




                                                                                                      IF




                                                                            N
                                                                                                      AL
                                                                            R




                                                                                DI
                                                                                     S T RI T O F C
                                                                                           C
                                                                                                                          Signature of Clerk or Deputy Clerk
                        Case 3:19-cv-05711-EMC Document 6 Filed 09/11/19 Page 2 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 3:19-cv-05711 JCS

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
